CaseAO245D
      8:98-cr-00322-JSM               Document 1219 Filed 10/18/07 Page 1 of 6 PageID 5842
           (Rev. 01/07) Judgment in a Criminal Case for Revocatiols - Sheet I

                                        UNITED STATES DISTRICT COURT
                                         MIDDLE DISTRICT OF FLORIDA

    UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                                                            (For Revocation of Probation or Supervised
                                                                            Release)
    v.
                                                                            Case Number: 8:98-cr-322-T-30MAP
    GRANT CAMPBELL                                                          USM Number: 12724-018

                                                                            David Weisbrod. cia.
                                                                            Defendant's Attorney
    TRE DEFENDANT:
         X      admitted guilt to violation of charge number(s)                    ONE            of the term of s u p e ~rion.
                                                                                                                            i
               was found in violation of charge number(s)                                  after denial of guilt.

    Violation Charge              Nature of Violation                                            Violation Ended
    Number
    ONE                           New Conviction for Conduct, Unlawful                           October 23,2006
                                  use of police badges or other indicia of
                                  authority, occurring on or about October
                                  23, 2006, while on supervision in violation
                                  of the conditions of supervision



           The defendant is sentenced as provided in pages 2 through                            6       of this judgment. The
    sentence is imposed pursuant to the Sentencing Reform Act of 1984.

               The defendant has not violated charge number(s)-
    a     n    d is discharged as to such violation charge(s).
                                                                         S w t a attomw for ths dnrlnct w h ~ 30
               It is ordered lhat rh~.dcfcndantmust nollfv the l l n ~ t d                                    n davs of anv
    ihmecofnamr. raidewe. or mailing address until a11 finr5. ~stttution,cum. and specval assr~smrnlsimpusul by this pdpment an.
    tLIIj pad. Ifordered to pay mtilutwn. the defendant mutt n~mrythe coun and Lnited Stat6 atlonwy of matmal c h g r s in

                                                           October 18.2007
                                                           Date of Imposition of Judgment




                                                           Date
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                             GRANT CAMPBELL                       Judgment - Page         2       of        6
   CASE NUMBER:              8:98-cr-322-T-30MAP

                                                 IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of
   Prisons to be imprisoned for a total term of TWO (2) DAYS.




    X     The Court makes the following recommendations to the Bureau of Prisons: The defendant shall be allowed
   to serve his term of incarceration beginning at 6:00 p.m. on Friday to 6:00 p.m. on Sunday.


   - The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

                    - at                         a.m.      p.m.    on

                    - as notified by the United States Marshal.

    X      The defendant shall surrender for senice of sentence at the institution designated by the Bureau
            of Prisons:

                    - before 2 p.m. on
                      X      as notified by the United States Marshal.

                    - as notified by the Probation or Pretrial Services Office.

                                                        RETURN

   I have executed this judgment as follows:


            Defendant delivered on                         to                                          at

                                     with a certified copy of this judgment.




                                                                   UNITED STATES MARSHAL

                                                   BY
                                                                   DEPUTY UNITED STATES MARSHAL
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    A 0 245D (Rev. 01/07) Judgment in a Criminal Case for Revocation - Sheet 3 - Supervised Release
    DEFENDANT:                     GRANT CAMPBELL                            Judgment - Page             3         of      6
    CASE NUMBER:                   8:98-cr-322-T-30MAP

                                                  SUPERVISED RELEASE

    Upon release from imprisonment, the defendant shall be on supervised release for a term of ONE (1) YEAR.

              The defendant shall report to the probation office in the district to which the defendant is released within 72 hours
    of release from the custody of the Bureau of Prisons.

    The defendant shall not commit another federal, state, or local crime. The del'endant shall riot illegally possess a controlled
    substancc. The defendant shall reftain ficom any unlawful useof a controlled substancc. The defendant shall submit to one drug
    test within 15 days of release from imprisonment and at least two periodic drug tcsts thereafter, not to exceed 104 tests per year.

              The abovedrug testing condition is suspended, based on the court's determination that the defendant poses
              a low risk of future substance abuse.

              The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.


              If this judgment imposes a tine or a restitution it is a condition of supcnrised release that the defendant pay in
              accordance with the Schedule of Payments sheet of this judgment.

              The defendant shall comply with the standard conditions that havc been adopted by this court as well as with any
              additional conditions on the attached page.

                                   STANDARD CONDITIONS OF SUPERVISION
              the defendant shall not leave the judicial district without thc permission of the court or probation officer;

              the defendant shall report to the probation officer and shall submit a truthful and coniplete written report within
              the first five days of each month;

              the dcfcndant shall answer truthfully all inquiries by the probation ot'ficer and follow the instructions of the
              probation officer;

              the defendant shall support his or her dependents and meet othcr family responsibilities;

              the defendant shall work regularly at a lawful occupation, unless excused by the probation oficer for schooling,
              training, or other acceptable reasons;

              the defendant shall noti@ the probation ofiicer at least ten days prior to any change in residence or employment;

              the defendant shall refruin from excessive use of alcohol and shall not purchase, possess, use, distribute, or
              administer any controlled substance or any paraphernalia related to any controlled substances, except as
              prescribed by a physician;

              the defendant shall not frequent placcs where controlled substances are illegally sold, used, distributed, or
               adtninistered;

              the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
              person convicted of a felony, unless granted permission to do so by the probation officer;

              the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall
              permit confiscation of any contraband obsenrcd in plain view of the probation ofijcer;

              the defendant shall notitL the probation officer within seventy-two Ilours of being arrested or questioned by a law
              enforcement ofiicer;

              the defendant shall not enter into any agreement to act as an in fonncr or a special agent of a law enforcement
              agency without the permission of the court;

              as directed by the probation officer, the defendant shall noti@ third parties of risks that may be occasioned by the
              defendant's criminal record or personal history or characteristics and shall pcrmit the probation officer to make such
              notifications and to confirm the defendant's compliance with such notitication requirement.
Case 8:98-cr-00322-JSM Document 1219 Filed 10/18/07 Page 4 of 6 PageID 5845
   A 0 245D (Rev. 0 1/07) Judgmont i n a Criminal Case for Revocations - Shcct 3C - Supenriscd Relcase

   DEFENDANT:                  GRANT CAMPBELL                        Judgment - Page          4          of   6
   CASE NUMBER:                8:98-cr-322-T-30MAP
                               SPECIAL CONDITIONS OF SUPERVISION

            The defendant shall also comply with the following additional conditions of supervised release:
   x
   -        The defendant shall be prohibited from incu--ng new credit charges, opening additional
            lines of credit, ac uis~tionspr obhgating himself tor any major purchases w~thout
                                   7,
            approval of the pro at~onofficer.

   -
   x        The defendant shall be provide the probation officer access to any requested financial
            information.
CaseA 8:98-cr-00322-JSM              Document 1219 Filed 10/18/07 Page 5 of 6 PageID 5846
      0 245D (Rcv. 01/07) Judrzriient in a Criminal Case for Revocation Shect 5 - Crilninal Monetary Penalties

     DEFENDANT:                     GRANT CAMPBELL                                  Judgment - Page         5          of         6
     CASE NUMBER:                   8:98-cr-322-T-30MAP
                                          CRIICIINAL MONETARY PENALTIES
                 The dcfcndant must pay the following total criminal monetary penalties under the schedule of payments set forth on
      sheet 6.

                          Assessment                                  -
                                                                      Fine                                        Restitution

      TOTALS:              N/A                                        N/A                                         S 985,441.3 1


                 The determination of restitution is deferred until            . An Alnondcd Judgment in a Criiiiinal Case
                 ( A 0 245C) will be cntcrcd after such dctermination.

     -
     X Thc defendant shall make restitution (including community restitution) to thc following payees in the amount listed
                 below.

                 If the defendant makes a partial payment, each payee shall rcccive an approximately proportioned payment, unless
                 specitied othcnvisc in the priority order or percentage payment colu~nnbelow. However, pursuant to I 8 U.S.C.
                 $3664(i), all non-fcdcral victims must be paid before the United States is paid.

      Name of Pavee

      Florida Discount Jewelers
      1 180 Solana
      Winter Park. FL 32789
      Rubin Arthur, Incorporated
      2 180 Park Avenue North, #3 10
      Winter Park, FL 32789
      Hindley Air Products
      Holox, 2601 S. Division Street
      Orlando, FL 32805




      TOTALS:                                                                              $985.34 1.3 1

                 Restitution amount ordered pursuant to plea agreement $

      - The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or tine is paid in
                 full before the tifteenth day after the date of the judgment, pursuant to 18 U.S.C. $361 2(t). All of the payment
                 options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $361Z(g).

      - The Court detcnnined that the defendant does not have the ability to pay intercst and it is ordered that:
                 - the interest requirement is waived for the                tine                  restitution.
                 - the interest requirement for the            finc                       restitution is modified as follows:




      *Findings for the total amount of losses are rcquired under Chapters 109A. 1 10, 1 1 OA, and 1 13A of Title 18 for offenses
      committed on or after
      September 13, 1994, but before April 23. 1996.
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     0 245D (Rev 01/07) Judgmcnt in a Criminal Cast for Revocation - Shcet 6 - Sclicdule of Pnymcnts


     DEFENDANT:                     GRANT CAMPBELL                             Judgnent - Page             6          of      6
     CASE NUMBER:                   R98-cr-322-T-30MAP


                                                 SCHEDULE OF PAYMENTS



     Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are
     due as follows:

     A.        -          Lump sum payment of $ - due immediately, balance due
                          -not later than                      , or
                          -in accordance -C, - D, - E or - F below: or
     B.                   Payment to begin immediately (may be combined with -C, -Dl or -F below);
                          or
     C.        -          Payment in equal                   (e-g., weekly, monthly, quarterly) installments of $
                                    over a eriod of         ( e . ~ .months
                                                                     .      or years), to commence
                                             ‘/'
                          (e.g., 30 or 60 ays) after the date o this judgment: or                           days
     D.        -          Payment in equal                (e.g., weekly, monthly, quarterly) installments of $ -
                                over a period of               , (e-g,. months or years) to commence
                          - (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or
     E.        -          Payment durin the term of supervised release will con~mencewithin
                                             8
                          (e-g., 30 or 6 days) after release from imprisonment. The court will set the payment
                          plan based on an assessment of the defendant's ability to pay at that time. or
     F.          X        Special instructions regarding the payment of criminal monetary penalties:
     The defendant shall make restitution payments of $250.00 per month.

     Unless the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment,
     payment of criminal monetary enalties is due during imprisonment. All criminal monetary penalties.
     except those payments made t l! r o u ~ hthe Federal Bureau of Prisons' Inmate Financial Responsibility
     Proyam. are made to the clerk of tfte court.
     The defendant shall receive credit for all payments previously made toward any criminal monetary
     penalties imposed.
     X
     -         Joint and Several
               Defendant Name, Case Number, and Joint and Several Amount: Restitution to be made to:
               Florida Discount Jewelers in the amount of $750,000. to be paid joint1 and severally with
               Paul Mathieson*: Rubin Arthur. Incorporated. in the amount of $223.0&. to be paid jointly
               and severally with Paul Mathieson*: Hindley Air Products in the amount of $12,441.3 1, to
               be paid jointly and severally with Paul Mathieson*.


     -         The defendant shall pay the cost of prosecution.
     -         The defendant shall pay the following court cost(s):
     -         The defendant shall forfeit the defendant's interest in the following property to the United
               States:


     Payments shall bc applied in the following order: ( I ) assessment, (2) restitution principal, (3) rcstitution interest, (4) tine
     principal, (5) colnrnunity restitution, (6) tine interest (7) penalties, and (8) costs, including cost ofprosecution and court costs.
